Case 1:25-cv-01485-MMH                            Document 3           Filed 03/18/25         Page 1 of 2 PageID #: 25



AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District ofNew York


   ELIZA SILVESTRE, individually and on behalf of                  )
              others similarly situated,                           )
                                                                   )
                                                                   )
                            P/ainti.ff(s)                          )
                                 V.
                                                                   )       Civil Action No.    25-cv-1485
                                                                   )
    DC CENTER INC. (d/b/a GS CLEANERS ) and                        )
              KYUNG WON LEE ,                                      )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                            DC CENTER INC. (d/b/a GS CLEANERS )
                                            47-75 48th Street,
                                            Woodside, NY 11377




          A lawsuit has been filed against you.

         Within 21 days after service o f this summons on you (not counting the day you received i t ) - or 60 days i f you
are the United States or a United States agency, or an officer or employee o f the United States described in Fed. R. Civ.
P. 12 (a)(2) or ( 3 ) - y o u must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 o f
the Federal Rules o f Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:         MICHAEL FAILLACE ESQ.
                                    60 East 42nd Street, Suite 4510
                                    New York, New York 10165
                                    Telephone: (212) 317-1200



        I f you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT


         3/18/2025
Date:   ---------                                                                        Signature of Clerk or Deputy Clerk
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Civil Action No.

                                                       PROOF OF SERVICE
                       (This section sl1ould not beflied wit/, tl,e court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name o f individual and title, i fany)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)

          -----------------                                      , a person of suitable age and discretion who resides there,
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name o f individual)                                                                    , who is
            designated by law to accept service of process on behalf of (name o f organization)
                                                                                on (date)                            ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):



           My fees are$                            for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:
